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                                                                                                          E-Filed
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES - GENERAL
 Case No.         CV 10-4201-GHK (PJWx)                                                  Date     July 30, 2010
 Title            Axis Capital, Inc. v. Capital Network Funding, et al.




 Presiding: The Honorable                              GEORGE H. KING, U. S. DISTRICT JUDGE


                Beatrice Herrera                                     N/A                                    N/A
                 Deputy Clerk                              Court Reporter / Recorder                     Tape No.


                Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                             None                                                          None


 Proceedings:            (In Chambers) Order re: Defendants’ Motion to Dismiss

       Defendants Capital Network Funding, Dustin White, and Blake Johnson (collectively,
“Defendants”) have moved to dismiss Plaintiff Axis Capital, Inc.’s (“Plaintiff”) Complaint pursuant to
Federal Rule of Civil Procedure 12(b)(6) (“Motion”). Plaintiff failed to file any Opposition to this
Motion. We have considered the papers filed in support of this Motion, and deem this matter
appropriate for resolution without oral argument. L.R. 7-15. The hearing set for August 9, 2010 is
hereby TAKEN OFF CALENDAR and the hearing date is VACATED.
I.       Motion to Dismiss
        In order to survive dismissal for failure to state a claim, a complaint must set forth “more than
labels and conclusions” or a “formulaic recitation of the elements of a cause of action”; it must contain
factual allegations sufficient to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 555, 570 (2007). This pleading standard is not satisfied by “‘naked
assertion[s]’ devoid of ‘further factual enhancement’” or “an unadorned, the-defendant-unlawfully-
harmed-me accusation.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Twombly, 550 U.S. at
557). “In sum, for a complaint to survive a motion to dismiss, the non-conclusory factual content, and
reasonable inferences from that content, must be plausibly suggestive of a claim entitling the plaintiff to
relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009) (internal quotation marks omitted).
        In considering a motion to dismiss, review is generally limited to the contents of the complaint
and we must accept as true the complaint’s factual allegations and construe them in the light most
favorable to the plaintiff. Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009). However, “[a] copy
of a written instrument that is an exhibit to a pleading is a part of a pleading for all purposes.” FED. R.
CIV. P. 10(c). Consequently, we may disregard “allegations contradicting documents that are referenced
in the complaint or that are properly subject to judicial notice.” Lazy Y Ranch Ltd. v. Behrens, 546 F.3d
580, 588 (9th Cir. 2008). Nor must we accept as true legal conclusions “cast in the form of factual
allegations.” W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981). Claims should be
dismissed only when there is either a “lack of a cognizable legal theory or the absence of sufficient facts

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alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir.
1990).
II.      Plaintiff’s Non-Opposition to Defendants’ Motion
      The deadline for a timely Opposition to this Motion has passed, and Plaintiff has failed to file an
Opposition. See L.R. 7-9. Local Rule 7-12 provides:
                Failure to File Required Papers. The Court may decline to consider any
                memorandum or other paper not filed within the deadline set by order or local
                rule. The failure to file any required paper, or the failure to file it within the
                deadline, may be deemed consent to the granting or denial of the motion.
       Thus, pursuant to L.R. 7-12, Plaintiff’s failure to file an Opposition is deemed its non-opposition
to Defendants’ Motion and its consent to the granting of the relief sought. See also Ghazali v. Moran,
46 F.3d 52, 53–54 (9th Cir. 1995). As such, Defendants’ Motion is GRANTED. However, we have
also considered the arguments contained in Defendants’ moving papers and conclude that they support
granting the Motion as well.
III.     Conclusion
      In light of the foregoing discussion, Defendants’ Motion is hereby GRANTED, and this action
is DISMISSED with prejudice.



         IT IS SO ORDERED.
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                                                            Initials of Deputy Clerk               Bea




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